                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


  IN RE: APPLICATION OF OMAR                     Misc. Action No.:
  ALGHANIM FOR AN ORDER TO
  TAKE EXPEDITED DISCOVERY
  FOR USE IN FOREIGN
  PROCEEDING PURSUANT TO 28
  U.S.C. § 1782



            APPLICATION OF OMAR ALGHANIM FOR AN ORDER
     TO TAKE EXPEDITED DISCOVERY FOR USE IN FOREIGN PROCEEDING
                     PURSUANT TO 28 U.S.C. § 1782

       Petitioner Omar Alghanim, pursuant to 28 U.S.C. § 1782 and Federal Rules of Civil

Procedure 26, 30, 34, and 45, respectfully applies to this Court for an order in the form attached

as Exhibit 3 to the Declaration of Robert Van Kirk (the “Van Kirk Declaration”) filed February

1, 2021, authorizing Petitioners to take discovery for use in pending proceedings before the

Commercial Court of Kuwait in the form of the subpoenas attached as Exhibit 4 to the Van Kirk

Declaration. In support of this petition, Petitioner submits a Memorandum of Law and attaches

the Van Kirk Declaration, the Declaration of Bader El Jeaan, and the Declaration of Omar

Alghanim.




Dated: February 1, 2021                              WILLIAMS & CONNOLLY LLP

                                                     /s/ Robert Van Kirk
                                                     Robert Van Kirk (pro hac vice forthcoming)
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